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IN THE UNITED STATES DISTRICT COURT 3 12021
FOR THE NORTHERN DISTRICT OF ILLINOIS o/

EASTERN DIVISION aed WERE RET COURT

)
ARI WEINER, )
Plaintiff, ) 1:21-cv-02379

Judge Charles R. Norgle, Sr
v- 5 Magistrate Judge Sunil R. Harjani
SUDLER AND COMPANY, )
Defendant. )

)

COMPLAINT
PARTIES

Plaintiff Ari Weiner (“Plaintiff”) is an individual of majority age and a citizen and
resident of the State of Illinois. Plaintiff resides in the Eastern Division of the
Northern District of Illinois. Plaintiff is an aggrieved person as defined by 42
U.S.C. § 3602(i).

Defendant Sudler and Company (“Defendant”) is a for profit corporation duly
incorporated under the laws of the State of Illinois. Defendant conducts business
in and its corporate office is located in the Eastern Division of the Northern

District of Illinois. Defendant is a person as defined by 42 U.S.C. § 3602(d).

JURISDICTION AND VENUE

 

This Court has jurisdiction pursuant to 42 U.S.C. § 3613(a)(1)(A).
Venue is proper in this District and Division because Plaintiff resides in this

District and Division, Defendant conducts business in and is domiciled in this
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District and Division and substantial acts and omissions giving rise to the instant

complaint occurred in this District and Division.

FACTUAL ALLEGATIONS

 

Plaintiff has an impairment which limits one or more of his major life activities.
Upon information and belief, Defendant knows that Plaintiff has an impairment
which limits one or more of his major life activities.

Plaintiff has a record of having an impairment which limits one or more of his
major life activities.

Upon information and belief, Defendant knows that Plaintiff has a record of
having an impairment which limits one or more of his major life activities.

Upon information and belief, Defendant regards Plaintiff as having an
impairment which limits one or more of his major life activities.

Plaintiff resides in a condominium in downtown Chicago; Defendant is currently
the property manager of said condominium.

Plaintiff previously requested and received a reasonable accommodation from the
condominium association of the condominium in which he currently resides in
order to afford him equal opportunity to enjoy a dwelling therein.

Upon information and belief, Defendant knows that Plaintiff previously requested
and received a reasonable accommodation from the condominium association of
the condominium in which he currently resides in order to afford him equal

opportunity to enjoy a dwelling therein.
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Upon information and belief, on or about the end of April and/or the beginning of
May, 2021, Defendant undertook a campaign to broadcast to condominium
employees and property management employees the nature of Plaintiffs
impairment and/or that Plaintiff is ‘special’ and/or that Plaintiff is ‘entitled’.

Upon information and belief, the intent of Defendant’s campaign as described in
{13 was to discriminate against Plaintiff and/or to intimidate Plaintiff so as to
prevent Plaintiff from requesting reasonable accommodations in the future.

Defendant’s conduct caused Plaintiff's impairment to increase in severity and

further limit his major life activities.

COUNT I
VIOLATION OF 42 U.S.C. § 3604(2)

 

Plaintiff restates and realleges all preceding paragraphs.

Defendant discriminated against Plaintiff in the provision of services in
connection with his dwelling, because of an impairment that limits one or more of
his major life activities.

Plaintiff was damaged as a result of Defendant’s conduct.

COUNT II
VIOLATION OF 42 U.S.C. § 3617

 

Plaintiff restates and realleges all preceding paragraphs.
Defendant intimidated and interfered with Plaintiff on account of his having
exercised and/or enjoyed a right granted and/or protected by 42 U.S.C. § 3604(3).

Plaintiff was damaged as a result of Defendant’s conduct.
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RELIEF SOUGHT: 42 U.S.C § 3613(c)

Plaintiff restates and realleges all preceding paragraphs.

Plaintiff seeks actual and punitive damages pursuant to 42 U.S.C. § 3613(c)(1)(a).
Plaintiff seeks applicable fees and costs pursuant to 42 U.S.C. § 3613(c)(2)(a).
Plaintiff seeks any other just relief that this Court may order pursuant to 42

U.S.C. § 3613(c)(1)(b).

Respectfully Submitted,
s/ Ari Weiner

Ari Weiner

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